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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

POPTECH, LP                                          :
                                                     :
                  Plaintiff,                         :      CIVIL NO. 3:10-CV-00967 (MRK)
                                                     :
V.                                                   :
                                                     :
STEWARDSHIP INVESTMENT ADVISORS,                     :
LLC, ET AL.                                          :
                                                     :
                  Defendants.                        :      OCTOBER 15, 2010

                              MOTION TO DISMISS BY
                          DEFENDANT GUSTAV E. ESCHER, III


       Pursuant to Fed. R. Civ. P. 12(b)(6) and 9(b), defendant, Gustav E. Escher, III (“Escher”)

hereby moves to dismiss the complaint by Poptech, LP (“Poptech” or “plaintiff”) against him for

failure to state claims upon which relief may be granted.

       In Count Four, plaintiff’s complaint purports to state a claim against Escher for aiding

and abetting a violation of the Connecticut Uniform Securities Act (“CUSA”). This claim fails

because plaintiff has impermissibly made undifferentiated blanket accusations against a group of

defendants, including Escher, and because the complaint fails to allege particularized factual

allegations against Escher to satisfy the elements of an aiding and abetting claim under CUSA.

       The remaining claims against Escher are brought derivatively on behalf of Stewardship

Credit Arbitrage Fund, LLC and allege as against Escher breach of fiduciary duty (Count Eight),

negligence (Count Nine), unjust enrichment (Count Ten), and beach of contract (Count Eleven).

Plaintiff’s complaint acknowledges that Escher’s role as Independent Manager was defined and

limited in scope. Plaintiff’s complaint fails to set forth a single fact alleging that Escher was

responsible for investment decisions or evaluating the quality of investments, which conduct
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forms the basis for the legal claims in Counts Eight through Eleven. Accordingly, Escher is

entitled to dismissal of those counts as well for failure to state a claim.        Escher hereby

incorporates by reference and adopts the arguments of all other defendants in support on this

motion to dismiss, to the extent that such arguments are equally applicable to Escher.

       For these reasons, Escher requests that all counts of plaintiff’s complaint against him be

dismissed.

                                             DEFENDANT
                                             GUSTAV E. ESCHER, III



                                             By /s/ Theodore J. Tucci
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                                       CERTIFICATION

       This is to certify that a copy of the foregoing was filed electronically on this 15th day of

October, 2010. Notice of this filing shall be sent by E-mail to all parties by operation of the

Court’s electronic filing system and parties may access this filing through the Court’s system.


                                                /s/ Theodore J. Tucci
                                              Theodore J. Tucci




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